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ANDREA T. MARTINEZ, Acting United States Attorney (9313)
MELINA SHIRALDI, Assistant United States Attorney (13110)
JEFFREY E. NELSON, Assistant United States Attorney (2386)
Attorneys for the United States of America
111 South Main St., Suite 1800
Salt Lake City, Utah 84111
Telephone: (801) 524-5682
Melina.Shiraldi@usdoj.gov
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                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH


 RUBI GARCIA, individually and on behalf
 of her minor child, A.H.G.,                         UNITED STATES’ REPLY
                                                     MEMORANDUM IN SUPPORT OF
                         Plaintiff,                  MOTION FOR SUMMARY JUDGMENT

         vs.                                         Case No. 2:19-cv-00416-CW-DBP

 UNITED STATES of AMERICA,                           District Judge Clark Waddoups
                                                     Magistrate Judge Dustin B. Pead
                         Defendant.


                                           INTRODUCTION

        The United States has moved for summary judgment on the ground that Plaintiff Rubi

Garcia did not present her administrative claim to the Department of Health and Human Services

within the two-year statute of limitations applicable to the Federal Tort Claims Act (“FTCA”).

See Mot. for Summ. J. (ECF 20). In her opposition memorandum, Plaintiff argues that the statute

should be equitably tolled and her claim should be considered timely because (1) Utah law tolls

the state’s statute of limitations for injuries to a child until the child reaches the age of 18,

(2) Ms. Garcia was unaware that the physician who delivered her child was deemed to be a
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federal employee, and (3) the continuous-treatment doctrine applies to Ms. Garcia’s claim. See

Pl.’s Opp. Mem. (ECF 25). The undisputed facts do not support these arguments.

                                           ARGUMENT

I.     The tolling provision for minors’ claims under Utah’s statute of limitations
       cannot support equitable tolling of Ms. Garcia’s claim because the timeliness
       of her claim is governed by the FTCA’s two-year statute of limitations, not
       Utah state law.

       Ms. Garcia correctly states that the United States’ liability under the FTCA is governed

by the law of the state where the tortious activity occurred. See Pl.’s Opp. Mem. at 6 (citing

28 U.S.C. § 1346(b)). This principle does not apply, however, to the timeliness of Ms. Garcia’s

claim. “While a tort claim under the FTCA substantively follows state law liability, its statute of

limitations provisions are governed by federal law, not state law.” Morales-Melecio v. United

States (Dep't of Health & Hum. Servs.), 890 F.3d 361, 365 n.9 (1st Cir. 2018). Thus, Utah’s

statute of limitations—which tolls the statute for injuries to a minor child until the age of 18—

does not apply to Ms. Garcia’s claim under the FTCA. Robbins v. United States, 624 F.2d 971,

972 (10th Cir. 1980) (“[A] claimant's minority does not toll the running of the statute of

limitations under the Federal Tort Claims Act.”). “The federal courts have consistently rejected

requests to create tolling exceptions for minors, reasoning that in the absence of an express

legislative directive to the contrary, parents and guardians are assumed to be adequate

surrogates.” United States v. Alvarez, 710 F.3d 565, 568 n.10 (5th Cir. 2013).

       Ms. Garcia nonetheless argues that Utah’s tolling statute is relevant to her request for

equitable tolling. First, Ms. Garcia contends that she believed that Utah’s statute of limitations

would not begin to run until her daughter was 18 years of age. Pl.’s Opp. Mem. at 7–8 (citing

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UTAH CODE ANN. § 78B-2-108). But Ms. Garcia’s belief is insufficient to support equitable

tolling. The Supreme Court has cautioned that equitable tolling is to be applied “sparingly,” such

as where a plaintiff files a timely but defective pleading or where the plaintiff “has been induced

or tricked by his adversary’s misconduct into allowing the filing deadline to pass.” Irwin v. Dep’t

of Veterans Affs., 498 U.S. 89, 96 (1990). By contrast, equitable tolling will not salvage a case

filed belatedly due to “a garden variety claim of excusable neglect.” Id. Thus, for example, the

Tenth Circuit has rejected equitable tolling where the plaintiffs had “essentially ask[ed] the court

to toll the statute of limitations in this case due to their misunderstanding of the law.” Barnes v.

United States, 776 F.3d 1134, 1150 (10th Cir. 2015). The plaintiffs’ explanation that they “had

every reason to believe there was no statute of limitation issue . . . amount[ed] to no more than a

contention of excusable neglect, and that is not good enough.” Id. at 1150–51.

       Ms. Garcia also argues that equitable tolling is appropriate because “Utah has evidenced

a significant interest in protecting its minors” through Utah’s tolling statute. Pl.’s Opp. Mem. at 9

(citing Albright v. Keystone Rural Health Ctr., 320 F. Supp. 2d 286 (M.D. Pa. 2004)). In

Albright, the district court concluded that equitable tolling was appropriate in part because

Pennsylvania’s tolling statute for minors “evidenced an interest in safeguarding the affairs of its

minor litigants.” Id. at 290–91 (citation omitted). As discussed above, however, state limitations

provisions are irrelevant to FTCA actions.

       Moreover, it is inaccurate to suggest, as the Albright court does, that the FTCA and its

legislative history provide no insight into Congress’s intent with respect to tolling of minors’

claims. Id. at 289. The statute itself is instructive. The FTCA’s two-year statute of limitations,

found in subsection (b) of 28 U.S.C. § 2401, has no tolling provision. But the six-year limitation

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in subsection (a) of the same statute—which applies to non-FTCA civil actions against the

United States—does contain a tolling provision for disabled persons. The contrast between the

two subsections demonstrates that when Congress intends to include tolling in a statute, it does

so explicitly. And when Congress intends to permit tolling for minors’ claims specifically, it

incorporates an express tolling provision. See, e.g., 18 U.S.C. § 2255(b)(2) (tolling the statute of

limitations for civil actions arising from crimes against minors until 10 years after the age of 18).

The absence of a tolling provision in § 2401(b) supports the conclusion that Congress did not

intend that minors’ FTCA claims be subject to tolling.

       The legislative history of the FTCA corroborates this conclusion. Prior to the enactment

of the FTCA, a number of tort-claim bills were introduced in Congress that would have tolled

claims on behalf of minors. See Ugo Colella & Adam Bain, Revisiting Equitable Tolling and the

Federal Tort Claims Act: Putting the Legislative History in Proper Perspective, 31 SETON HALL

L. REV. 174, 220–22 (2000). But when it was enacted in 1946, the FTCA had no tolling

provision. And Congress has subsequently considered incorporating a tolling provision for

minors in the FTCA’s statute of limitations. See Booth v. United States, 914 F.3d 1199, 1205

(9th Cir. 2019). “But these proposed amendments have not become law. Had Congress wanted to

include minority tolling in the FTCA's statute of limitations, it could have done so.” Id. Thus, the

premise for the Albright decision—that equitable tolling for a minor’s claim is permissible

because Congress has not demonstrated a contrary intent—is belied by the FTCA’s legislative

history and by the absence of an explicit tolling provision in the FTCA’s statute of limitations.




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II.    Equitable tolling cannot be applied to Ms. Garcia’s claim because she knew
       or should have known that Dr. Horwood was affiliated with the Community
       Health Centers and was deemed to be a federal employee for purposes of
       medical-malpractice claims under the FTCA.

       Ms. Garcia asserts that she and her counsel believed Dr. Horwood was employed by the

University of Utah Hospital when they submitted a Notice of Intent to Commence Action to the

University Hospital in July 2017. See Pl.’s Opp. Mem. at 7. Ms. Garcia correctly notes that Dr.

Horwood was not involved in her prenatal care during her 2015 pregnancy. However, Ms. Garcia

had met with Dr. Horwood in 2011, when she was pregnant with her previous child. On

December 21, 2011, Dr. Horwood met with Ms. Garcia at the CHC’s Oquirrh View Clinic to

discuss the plans for her upcoming labor and delivery. See Def.’s Ex. D (Horwood dep.) (ECF

21) at 30:3-32:11. Because Ms. Garcia had delivered her first child by C-section, the CHC’s

practice was to have a physician meet with her to discuss the risks and benefits of proceeding

with a vaginal delivery instead of another C-section. Id. After Dr. Horwood discussed the risks

and benefits with Ms. Garcia, she decided to proceed with a vaginal delivery and signed a

consent form for a “VBAC” (vaginal birth after cesarean). Id.; see also VBAC Consult and

Consent to VBAC (Def.’s Ex. R hereto).

       Ms. Garcia’s prior discussion with Dr. Horwood at a CHC clinic should have alerted her

that Dr. Horwood was not employed by the University Hospital when he arrived to deliver her

next child in 2015. But even if Ms. Garcia did not recall her previous meeting with Dr. Horwood,

there was ample publicly-available information to inform her of his federal status. On February

15, 2016—about six months after A.H.G.’s birth—Ms. Garcia contacted legal counsel and

signed a form authorizing her attorneys to obtain records from the 72nd Street Clinic, where she


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had received her prenatal care. See Def.’s Ex. L (ECF 21). Those records show that the 72nd

Street Clinic is part of “CHC Community Health Centers, Inc.” See Def.’s Ex. B (ECF 21) at 1.

The CHC maintains a website with information regarding its clinics. See Declaration of Dexter

Pearce (Def.’s Ex. S hereto), ¶¶ 4–5. 1 The CHC also maintained this website in 2015 and 2016.

Id., ¶ 6. 2 The website links to all of the CHC clinics, including the 72nd Street Clinic where Ms.

Garcia had received her prenatal care and the Oquirrh View Clinic where Ms. Garcia had met

with Dr. Horwood in 2011. Id., ¶ 5. The Oquirrh View web page in turn links to pictures and

information about the clinic’s practitioners, including Dr. Horwood. Id. & Decl. Ex. 2.

        The following notice appears at the bottom of each of the web pages:

        Community Health Centers, Inc. is funded in part through a grant from the U.S.
        Department of Health & Human Services and generous community support. This
        health center is a Health Center Program grantee under 42 U.S.C. 254b, and a
        deemed Public Health Service employee under 42 U.S.C. 233(g)–(n).

The notice directs the reader to 42 U.S.C. § 233(g)–(n), which explains that an employee of a

qualified health center is “deemed to be an employee of the Public Health Service.” 42 U.S.C.

§ 233(g)(1)(A). The statute further provides that the exclusive remedy against a deemed

employee is through an action under the FTCA. Id. (cross-referencing § 233(a)).

        With a minimum of research, Ms. Garcia would have learned (or been reminded) that Dr.

Horwood was employed by CHC, not the University Hospital; that CHC and Dr. Horwood were

deemed to be federal employees; and that the exclusive remedy for alleged medical malpractice

was through an action under the FTCA. These facts distinguish this case from the cases Ms.

  1
      Available at www.chc-ut.org (last viewed October 28, 2021).
  2
    Available at https://web.archive.org/web/20160214061403/http:/www.chc-ut.org/ (last
viewed October 28, 2021).
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Garcia relies on. In Santos ex rel. Beato v. United States, 559 F.3d 189 (3d Cir. 2009), the Third

Circuit held that the FTCA’s statute of limitations was subject to tolling because the plaintiff

could not reasonably have been expected to discover that the doctor who delivered her child was

deemed to be a federal employee. Id. at 203–04. In Santos, however, the Court emphasized that

Ms. Santos had “diligently and vigorously pursued her claim.” Id. at 198. Ms. Santos had

retained legal counsel, who “performed a public records search on York Health [pediatric clinic],

corresponded with York Health, obtained Santos’s medical records, visited the clinic, and

reviewed pertinent records onsite.” Id. at 191. By contrast, Ms. Garcia has presented no evidence

that she took any steps to determine who employed Dr. Horwood, other than hiring legal counsel.

As the Santos Court emphasized, “a plaintiff will not receive the benefit of equitable tolling

unless she exercised due diligence in pursuing and preserving her claim.” Id. at 197; see also

Mason v. Dep't of Justice, 39 F. App'x 205, 207 (6th Cir. 2002) (unpublished) (“[F]or purposes

of determining whether equitable tolling applies, the actions of plaintiffs’ attorneys are

attributable to their clients”).

        The district court in Albright v. Keystone Rural Health Center, discussed above, applied

equitable tolling based primarily on its view that it was important to uphold Pennsylvania’s

interest in protecting injured children, as evidenced by Pennsylvania’s tolling statute. The

Albright court also relied on “the fact that it was difficult if not impossible to ascertain

Defendants’ federal status.” 320 F. Supp. 2d at 291. But unlike the present case, the Albright

plaintiffs and their counsel had “conducted a diligent and thorough search into Defendants’

identities, including researching the proper name and location of Defendants through their public

corporate records.” Id. at 287.

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       Ms. Garcia could have learned of Dr. Horwood’s federal status if she had made even a

modest effort to look for it. Because she did not diligently pursue that information, equitable

tolling cannot salvage her untimely claim.

       Nor does Ms. Garcia’s filing of a timely administrative claim with the Utah Department

of Professional Licensing (“DOPL”) justify equitable tolling. See Pl.’s Opp. Mem. at 7. When

the Supreme Court discussed the types of events that might support equitable tolling, it gave the

example of “[the] filing [of] a defective pleading during the statutory period.” Irwin, 498 U.S. at

96. An administrative claim, however, is not a “pleading.” See Fed. R. Civ. P. 7(a). Moreover,

when Congress passed the Westfall Act to address circumstances where a claimant mistakenly

sued a federal employee rather than the United States, it provided relief only if “the underlying

civil action” was filed within the FTCA’s limitations period. 28 U.S.C. § 2679(d)(5). Ms.

Garcia’s DOPL notice was not a civil action. See Raplee v. United States, 842 F.3d 328, 332–33

(4th Cir. 2016) (an “action” as used in the FTCA’s statute of limitations refers to a judicial

proceeding, and “a plaintiff cannot satisfy the FTCA’s limitations period by filing an action with

a state agency that lacks jurisdiction over such an action.”).

       Furthermore, the DOPL notice Ms. Garcia filed under Utah state law does not suffice to

meet the FTCA’s requirement that a claimant present an administrative claim prior to filing suit.

28 U.S.C. § 2675(a). That notice did not even list Dr. Horwood or the CHC as a respondent, and

it was not served on them. See Pl.’s exhibits (ECF 29) at 3–5. Ms. Garcia did not amend that

notice to name Dr. Horwood and the CHC until October 13, 2017, after the two-year statute had

run. See Def.’s Ex. O (ECF 21). Moreover, the FTCA’s prelitigation process is different from

state-law administrative procedures and serves a different purpose. Van Dyke v. United States,

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457 F. App’x 721, 726 (10th Cir. 2012) (unpublished). Thus, even if Ms. Garcia’s DOPL notice

had been timely, it could not supplant the FTCA’s administrative-claim process.

III.   The continuous-treatment doctrine cannot toll the statute of limitations for
       Ms. Garcia’s claim because her daughter was not under the continuous care
       of the physician who allegedly caused her daughter’s injury.

       The continuous-treatment doctrine is grounded in the principle that a prospective

medical-malpractice claimant should not be compelled to assert a claim against her health-care

provider if doing so would interfere with the physician-patient relationship and potentially

jeopardize treatment targeted at correcting the injury. McCullough v. United States, 607 F.3d

1355, 1362 (11th Cir. 2010). The courts of appeals that have accepted the continuous-treatment

doctrine have adopted different approaches. The more expansive application of the doctrine tolls

the statute of limitations as long as the allegedly negligent provider continues to be involved in

the treatment of the claimant for the injury. Id. The more restrictive application cuts off the

tolling when the claimant learns what acts caused her injury. Id.

       Although the Tenth Circuit has alluded to these formulations of the continuous-treatment

doctrine, it has not formally adopted the doctrine. See Stephenson ex rel. Stephenson v. United

States, 147 F. Supp. 2d 1106, 1110–11 (D.N.M. 2001). Even if the doctrine is available in the

Tenth Circuit, however, Ms. Garcia’s claim is not eligible for tolling. The more restrictive

version of the doctrine does not apply because Ms. Garcia knew about the actions that she

alleges caused A.H.G.’s injury. Shortly after A.H.G. was born, Ms. Garcia’s husband told her

that he believed A.H.G.’s injury occurred when Dr. Horwood pulled on her shoulder during the

delivery. See Mot for Summ. J. at 4–5, ¶ 14. Because Ms. Garcia was aware of the acts that



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 allegedly caused A.H.G.’s injury, the more restrictive application of the continuous-treatment

 doctrine does not apply.

        Even under the more generous version of the doctrine, the circumstances of A.H.G.’s

 birth and subsequent treatment do not meet the criteria for continuous-treatment tolling. Dr.

 Horwood delivered A.H.G., and Ms. Garcia alleges that he did so negligently. See Pl.’s Compl.

 (ECF 2) at 5–6, ¶¶ 26–30. Dr. Horwood’s involvement in A.H.G.’s care ended, however, when

 Ms. Garcia took A.H.G. home from the hospital two days after she was born. As shown in the

 University Hospital’s “Summary of Care” dated August 20, 2015, Dr. Horwood was the

 attending provider only from August 18 to August 20, 2015. See Pl.’s exhibits at 70–71. The

 provider listed for “follow-up contact information” is Christian Hyer, a physician assistant at the

 72nd Street Clinic. Id. And, in fact, PA Hyer was one of A.H.G.’s providers at the clinic

 thereafter, while Dr. Horwood was not. See, e.g., Pl.’s exhibits at 77–88.

        Ms. Garcia notes that Dr. Horwood is listed in occupational-therapy records as A.H.G.’s

 primary-care physician and referring provider. See Pl.’s Opp. Mem. at 4, ¶¶ 11, 19. This was

 carried over on each therapy record beginning with A.H.G.’s first treatment record, presumably

 because Dr. Horwood was listed as Ms. Garcia’s physician after A.H.G.’s delivery. See Def.’s

 Ex. G (ECF 21) at 1. But Dr. Horwood did not continue to treat A.H.G. See, e.g., Pl.’s exhibits at

 64–65, 75–76 (A.H.G. was seen in follow-up care by Dr. Betty Liu, not Dr. Horwood). Dr.

 Horwood was also not the CHC’s referring provider. See CHC telephone note dated August 20,

 2015 (Pl.’s exhibits at 60) (occupational-therapy referral was requested by Dr. J. Moreland, not

 Dr. Horwood).



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        Nor have other CHC personnel been involved in treating A.H.G. for her brachial-plexus

 injury. The only references to A.H.G.’s treatment in the CHC records are in the records of

 A.H.G.’s periodic well-child visits, in the which practitioners examining A.H.G. recorded the

 fact that she was undergoing therapy for her shoulder injury and had undergone surgery on her

 shoulder. See, e.g., Pl.’s exhibits at 76 (note by Dr. Liu), 78, 86 (notes by PA Hyer). But those

 practitioners were neither providing nor directing the surgery or therapy treatments.

        Finally, to the extent the continuous-treatment doctrine is intended to avoid disruption of

 the physician-patient relationship, that purpose no longer applied in February 2016 when Ms.

 Garcia contacted legal counsel to assist her with her claim regarding the injury to A.H.G. There

 was no reason to employ tolling to protect Ms. Garcia from having to make a decision to pursue

 a claim when she had already decided to do so.

                                           CONCLUSION

        For the foregoing reasons, the United States requests that the court dismiss Ms. Garcia’s

 Complaint with prejudice.

        Dated this 29th day of October, 2021.

                                                       ANDREA T. MARTINEZ
                                                       Acting United States Attorney

                                                       /s/ Melina Shiraldi
                                                       MELINA SHIRALDI
                                                       Assistant United States Attorney




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